Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 1 of 13 Page ID #:266



   1 LAW OFFICES OF DALE K. GALIPO
     Dale K. Galipo, Esq. (SBN 144074)
   2 dalekgalipo@yahoo.com
     Melanie T. Partow, Esq. (SBN 254843)
   3 Mpartow@galipolaw.com
     21800 Burbank Boulevard, Suite 310
   4 Woodland Hills, California 91367
     Telephone: (818) 347-3333
   5 Facsimile: (818) 347-4118
   6 Attorneys for Plaintiffs
   7
                             UNITED STATES DISTRICT COURT
   8
                           CENTRAL DISTRICT OF CALIFORNIA
   9
  10
       MARCUS VAUGHN; S.J., a minor, by             Case No. CV 16-03086 AB (AJWx)
  11   and through her guardian ad litem
       Tiassa Powell; and D.J.A, a minor, by        [Honorable Andre Birotte, Jr.]
  12
       and through his guardian ad litem
  13   Tiassa Powell, in each case individually     PLAINTIFFS’ WITNESS LIST
       and as a successor in interest to Redel
  14   Jones, deceased; and HAROLD
  15   HORNE, individually,

  16               Plaintiffs,
  17
             vs.
  18
     CITY OF LOS ANGELES; BRETT
  19 RAMIREZ; and DOES 1-10, inclusive,             Trial:                     11/7/17
                                                    Pretrial Conference:       10/16/17
  20
               Defendants.
  21
  22
  23
  24
  25
  26
  27
  28


                                        PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 2 of 13 Page ID #:267



   1         TO THIS HONORABLE COURT, following the pre-trial meeting of
   2 counsel and pursuant to Local Rule 16 and this Court’s Order Re: Jury Trial [Dkrt.
   3 #28], Plaintiffs hereby submit their witness list. Plaintiffs reserve the right to revise
   4 and further supplement this list.
   5
   6 Respectfully submitted,
   7 DATED: September 25, 2017             LAW OFFICES OF DALE K. GALIPO
   8
   9
  10                                       By        /s Melanie T. Partow
                                                Dale K. Galipo
  11                                            Melanie T. Partow
                                                Attorneys for Plaintiff
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                   -1-
                                         PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 3 of 13 Page ID #:268



   1                                     Plaintiffs’ Exhibits
   2          Plaintiffs’ counsel is working to determine which witnesses are available for
       the current trial date and with defense counsel to limit the need to call unnecessary
   3
       City employees. Where [**] is used to denote multiple witnesses that may testify on
   4   the same or similar subject, please note that Plaintiffs will only call one of the listed
       witnesses for a single issue, subject to who is available. If necessary, Plaintiffs will
   5
       file an Amended Exhibit List pairing down this witness list once witness
   6   confirmations are obtained.
   7
                                                                               Direct     Cross
               Witness.                 Brief Description of Testimony
   8                                                                            (hr)       (hr)
                                   Officer Ramirez is the shooting              1.5        .75
   9     1.Defendant Officer       officer. He will testify as to the
  10                               information known to him and the
            Brett Ramirez
                                   circumstances of his use of deadly
  11                               force against Redel Jones.
  12                               Officer Iniguez was Officer Ramirez’         .67         .5
                                   partner and is a percipient witness.
  13                               He also pursued Redel Jones along
           2. LAPD Officer
  14                               with Officer Ramirez, but he did not
           Alonzo Iniguez
                                   fire. He will testify as to the
  15                               objective circumstances of the
  16                               shooting.
                                   Officer Carpenter arrived with Officer        .5         .5
  17
                                   Hughes and engaged in a foot pursuit
  18       3. LAPD Officer         of Redel Jones along with Officers
                                   Ramirez and Iniguez. Officer
  19      Andrew Carpenter
                                   Carpenter did not fire and will testify
  20                               as to the objective circumstances of
                                   the shooting.
  21
                                   Officer Carpenter arrived with Officer      1.25         .5
  22                               Hughes and engaged in a foot pursuit
                                   of Redel Jones along with Officers
  23
                                   Ramirez and Iniguez. Officer
  24       4. LAPD Officer         Carpenter did not fire and will testify
  25       Kenneth Hughes          as to the objective circumstances of
                                   the shooting. Officer Hughes
  26                               discharged his TASER at Redel Jones
  27                               near to or simultaneously with the
                                   shots fired by Officer Ramirez.
  28

                                                    -2-
                                          PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 4 of 13 Page ID #:269



   1                                                                     Direct   Cross
               Witness.              Brief Description of Testimony
                                                                          (hr)     (hr)
   2                           Dr. Su performed the autopsy of            .75      .25
   3                           Redel Jones and will testify as to her
                               injuries, bullet path and trajectory of
   4                           her wounds. Dr. Su will also testify
          5. Dr. Keng-Chi Su
   5                           as to the lack of any GSR on Jones
                               and to communications had with
   6                           LAPD Detectives before any autopsy
   7                           conclusions were reached.
           6. Denise Burton    Will testify as to conversations with      .25      .25
   8                           Plaintiff Marcus Vaughn after the
   9       (County Coroner     shooting, concerning Redel Jones’
             Investigator)     mental illness and general state of
  10                           being at the time of the shooting.
  11                           Criminalist Pearring will testify as to    .25      .25
                               the evidence collected during autopsy
  12                           and communications had with LAPD
  13   7. Sue Pearring (County Detectives before autopsy
  14   Department of Coroner conclusions were reached. Pearring
                               will also testify that blood results
  15      Senior Criminalist)  showed that Jones had no Seroquel in
                               her system, which was the medication
  16
                               that was prescribed to Jones to treat
  17                           her bi-polar disorder.
                               Responded to the shooting and will         .25      .1
  18
                               testify as to the position of Redel
  19   8. LAPD Officer Nicole Jones’ body, her condition upon
                 Evans*        arrival, and that Jones was best
  20
                               positioned to prevent the bleeding
  21                           from obstructing her breathing.
  22                           Responded to the shooting and will         .25      .1
                               testify as to the position of Redel
  23    9. LAPD Officer Dara Jones’ body, her condition upon

  24            Choub*         arrival, and that Jones was best
                               positioned to prevent the bleeding
  25                           from obstructing her breathing.
  26   10. LA Fire/Paramedic First Responder who administered aid         .25      .1
                               to Jones and pronounced Jones
  27      Herbert Reddick**
                               deceased at the scene.
  28

                                                 -3-
                                       PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 5 of 13 Page ID #:270



   1                                                                     Direct   Cross
             Witness.               Brief Description of Testimony
                                                                          (hr)     (hr)
   2   11. LA Fire/Paramedic                                              .25      .1
                               First Responder to assessed Jones and
   3    William Collyer**      administered aid at scene.
   4 12. LA Fire / Paramedic                                              .25      .1
                             First Responder to assessed Jones and
   5   Kyle Hernandez**      administered aid at scene.
   6                           Sgt. Wilson will testify as to what         .5      .25
         13. Sgt. Dwayne       Ramirez first disclosed about the
   7
            Wilson***          shooting during his public safety
   8                           statement.
   9                           Lead LAPD Detective who reviewed,           1       .5
                               documented and summarized
  10                           evidence and took witness statements.
  11                           He will testify as to his factual
                               conclusions regarding the loading of
  12                           Officer Ramirez’ weapon, the
  13                           officers’ activation (or failure to
                               activate) their DICVS (vehicle
  14   14. Detective Donald    cameras) until after the incident, the
  15                           absence of body worn video
           Walthers***
                               equipment, movement of the vehicles
  16                           driven by Ramirez and Carpenter and
  17                           Hughes at the scene – after the
                               shooting but before the scene was
  18                           documented, He will testify as to his
  19                           investigation into the shooting and the
                               facts that were relayed to the
  20                           department in support of the finding
  21                           that the shooting was justified.
                               Reviewed, documented and                   .25      .1
  22   14. Detective Eduardo   summarized evidence and took
  23       Gonzalez***         witness statements. He will testify as
                               to his investigation into the shooting.
  24                           Reviewed, documented and                   .25      .1
           15. Detective       summarized evidence and took
  25
           McKnight***         witness statements. He will testify as
  26                           to his investigation into the shooting.
  27
  28

                                                -4-
                                      PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 6 of 13 Page ID #:271



   1                                                                      Direct   Cross
               Witness.               Brief Description of Testimony
                                                                           (hr)     (hr)
   2                           Reviewed, documented and                    .25      .1
   3   16. Detective Stone*** summarized evidence and took
                               witness statements. He will testify as
   4                           to his investigation into the shooting.
   5                           An associate of Ms. Jones who will           .5      .5
                               testify that Ms. Jones was mentally ill
   6   17. Ajlon Jaalah Hunter and that she was not taking her bi-
   7                           polar medication at the time of the
                               incident.
   8                           Percipient witness to the shooting          .75      .25
   9                           who will testify that Ms. Jones was
       18. Courtyana Franklin not advancing toward Officer
  10                           Ramirez with a knife raised over her
  11                           head at the time of the shots.
                               Will testify that no gunshot residue        .25      .1
  12
                               was found on Jones’ clothing, no
  13                           latent prints or DNA on the knife, and
                               that Officer Ramirez firearm was
  14
                               improperly loaded to contain more
       19. Kathleen Alvarado,
  15                           bullets then it was designed to carry.
            Criminalist II,
                               Will also aid the jury’s understanding
  16      Serial No. N4216
                               of the scene photos and testify as to
  17                           the location of bullet defects, bullet
                               casings, fragments and other
  18
                               evidence, such as TASER wires and
  19                           cartridges, at the scene and scene
                               measurements and distances.
  20
           20. Alan Perez,                                                 .25      .1
  21                           Will testify as to the test-firing and
            Criminalist II,
                               loading of Officer Ramirez’ pistol.
  22      Serial No. N3438
                               Will testify as to her examination and      .25      .1
  23     21. Jessica Moody,    bullet cartridge / case comparison
  24    Criminalist II, Serial report, and the characteristics, such as
             No. N4576         projectile patterns, of Officer
  25                           Ramirez’ pistol.
  26     22. Carole Acosta,    Will testify as to the conclusions of       .25      .1
        Criminalist II, Serial her report documenting the testing of
  27         No. N3453         Jones' clothing for a distance
  28                           determination.

                                                 -5-
                                       PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 7 of 13 Page ID #:272



   1                                                                      Direct   Cross
             Witness.                Brief Description of Testimony
                                                                           (hr)     (hr)
   2   23. Brian Kim, DNA                                                  .25      .1
                                Will testify as to the conclusions of
   3      Unit Criminalist
                                his report and testing for DNA from
       II, Serial No. N4671
   4                            the handle of the knife.
   5    24. Arthur Gerio,                                                  .25      .1
                                Will testify as to the conclusions of
          Forensic Print
   6                            his report and testing for latent
       Specialist, Serial No.
                                fingerprints on the knife.
   7          V8109
                                Will testify as to his post-incident       .25      .1
   8   25. Craig Piantanida,    examination of Officer Ramirez'
   9       FID Detective        pistol, and that after five rounds were
                                fired during the incident, 13 rounds
  10                            remained in the gun.
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                 -6-
                                       PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 8 of 13 Page ID #:273



   1                                                                     Direct   Cross
             Witness.              Brief Description of Testimony
                                                                          (hr)     (hr)
   2                          Was the Southwest Patrol Division            2       1
   3                          Commanding Officer at the time of
                              the shooting. He will testify
   4                          concerning the violations of LAPD
   5                          policy that were uncovered by the
                              officers’ actions during this particular
   6                          incident, including misuse and
   7                          unavailability of HRDs, the officers’
                              failure to operate their DICVS until
   8                          after the shooting, the misloading of
   9                          Officer Ramirez’ gun, and the failure
                              to turn off DICVS recording devices
  10     26. Sean Parker,
                              worn by employees involved in OIS’
       Captain 1, Southwest
  11                          prior to public safety statements and
       Division, Serial No.
                              administrative interviews. Will also
  12          32587
                              testify concerning the formal
  13                          disciplinary or training measures that
                              were taken in response to these items
  14                          for this case. Will also testify as to
  15                          LAPD policy and procedure on the
                              Use of Force, Investigation and
  16                          Review of OIS, and the Training and
  17                          Discipline of Officers. Will also
                              testify as to the facts set forth in the
  18                          LAPD’s Quarterly Reports to the
  19                          Board of Police Commissioners for
                              the five years prior to the incident.
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                               -7-
                                     PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 9 of 13 Page ID #:274



   1                                                                     Direct   Cross
             Witness.              Brief Description of Testimony
                                                                          (hr)     (hr)
   2                          Officer in Charge of the LAPD Force          1       .5
   3                          Investigation Division, who co-
                              authored the 16-page Investigative
   4                          Summary of this incident for LAPD
   5                          Chief Charlie Beck. He will testify
                              that he reviewed and compiled a
   6                          summary of this incident in a report
   7                          addressed to the Chief of Police. He
                              will testify that the LAPD concluded
   8                          that this shooting was deemed to be
   9                          within policy, and that his report
           27. Lt. Brian      listed the outstanding issues and
  10       Gilman****         LAPD policy violations that were
  11                          being delegated to Southwest
                              Division Captain Sean Parker for him
  12                          to address. Will also testify as to
  13                          LAPD policy and procedure on the
                              Use of Force, Investigation and
  14                          Review of OIS, and the Training and
  15                          Discipline of Officers. Will also
                              testify as to the facts set forth in the
  16                          LAPD’s Quarterly Reports to the
  17                          Board of Police Commissioners for
                              the five years prior to the incident.
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                               -8-
                                     PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 10 of 13 Page ID #:275



    1                                                                 Direct   Cross
               Witness.             Brief Description of Testimony
                                                                       (hr)     (hr)
    2                        Was the Commanding Officer of the          1       .5
    3                        LAPD Force Investigation Division.
                             who co-authored the 16-page
    4                        Investigative Summary of this
    5                        incident for LAPD Chief Charlie
                             Beck. He will testify that he
    6                        reviewed and compiled a summary of
    7                        this incident in a report addressed to
                             the Chief of Police. He will testify
    8                        that the LAPD concluded that this
    9                        shooting was deemed to be within
        28. Commander Robert policy, and that his report listed the
  10                         outstanding issues and LAPD policy
             A. Lopez****
  11                         violations that were being delegated
                             to Southwest Division Captain Sean
  12                         Parker for him to address. Will also
  13                         testify as to LAPD policy and
                             procedure on the Use of Force,
  14                         Investigation and Review of OIS, and
  15                         the Training and Discipline of
                             Officers. Will also testify as to the
  16                         facts set forth in the LAPD’s
  17                         Quarterly Reports to the Board of
                             Police Commissioners for the five
  18                         years prior to the incident.
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                -9-
                                      PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 11 of 13 Page ID #:276



    1                                                                    Direct   Cross
              Witness.             Brief Description of Testimony
                                                                          (hr)     (hr)
    2                         Plaintiffs’ police practices expert will    1.5      .5
    3                         testify as to the actions of a
                              reasonable officer facing similar
    4                         factual circumstances as Officer
    5                         Ramirez, that Officer Ramirez acted
                              unreasonably and used excessive
    6                         force, that his conduct was an
    7                         overreaction, and that Officer
                              Ramirez’ conduct violated LAPD
    8                         policy, and POST standards. Roger
    9                         Clark will also rely on his training
                              and experience to help the jury
  10                          understand basic principles of crime
  11                          scene analysis, basic bullet trajectory
                              and bullet path analysis, and general
  12      29. Roger Clark     ballistics. He will also testify about
  13                          the use of TASERs generally, their
                              intended use and effectiveness. He
  14                          will testify about the circumstances in
  15                          this case that indicate a lack of
                              training and a lack of disciplinary
  16                          action toward the officer, and his
  17                          experience concerning Monell-related
                              patterns of ratifying and failing to
  18                          properly train and discipline LAPD
  19                          officers who use excessive force. He
                              will also testify based on his years of
  20
                              work in a supervisory position with
  21                          the LA County Sheriff’s Department,
                              that an officer who uses excessive
  22
                              force is likely to do so again.
  23
  24
  25
  26
  27
  28

                                              -10-
                                     PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 12 of 13 Page ID #:277



    1                                                                     Direct   Cross
                Witness.              Brief Description of Testimony
                                                                           (hr)     (hr)
    2                          Plaintiff is the husband of Redel           .75      .25
    3                          Jones. Will testify as to Ms. Jones’
                               history of mental illness, her
    4                          relationship with her children, her
    5                          enjoyment of life, her endeavors,
          30. Marcus Vaughn    hobbies and aspirations. He will also
    6                          testify as to his relationship with Ms.
    7                          Jones and the effect that her death has
                               had on him. He will also testify as to
    8                          the relationship that his children had
    9                          with Ms. Jones and the effect that her
                               death has had on each of them.
  10                           Ms. Williams is the decedent’s sister.      .75      .25
  11                           She will testify as to the decedent’s
                               love of life, ambitions, talents and
  12                           business endeavors. She will also
  13                           testify as to the decedent’s mental
        31. Phyniques Williams illness. She resides with the Plaintiff,
  14                           Harold Horne, and will testify as to
  15                           the relationship between Mr. Horne
                               and Ms. Jones and the effect that Ms.
  16                           Jones’ death has had on Plaintiff
  17                           Horne.
                               Ms. Powell is the court-appointed            .5      .25
  18
                               guardian ad litem for the minor
  19                           plaintiffs (Ms. Jones’ two children).
            32.Tiasa Powell    Ms. Powell will testify as to the
  20
                               relationship between Ms. Jones and
  21                           the minor plaintiffs and how Mr.
                               Jones’ death has affected the minor
  22
                               plaintiffs.
  23                           The decedent’s minor son. He will           .25      .1
  24          33. D.J.A.       testify about his relationship with his
                               mother and the effect that his
  25                           mother’s death has had on him.
  26                           The decedent’s minor daughter. She          .25      .1
                34. S.J.       will testify about her relationship with
  27                           her mother and the effect that her
  28                           mother’s death has had on her.

                                                 -11-
                                        PLAINTIFFS’ WITNESS LIST
Case 2:16-cv-03086-AB-AJW Document 49 Filed 09/25/17 Page 13 of 13 Page ID #:278



    1                                                                  Direct   Cross
              Witness.             Brief Description of Testimony
                                                                        (hr)     (hr)
    2                         A plaintiff and the decedent’s father.     .5      .25
    3     35. Harold Horne    He will testify about his relationship
                              with his daughter and the effect that
    4                         her death has had on his life.
    5
    6
    7
    8
    9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                              -12-
                                     PLAINTIFFS’ WITNESS LIST
